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 DEFENDANT:           JAMARIUS JONES

 AGE/YOB:             21/1998

 COMPLAINT            ______ Yes      __X____ No
 FILED?
                      If Yes, MAGISTRATE CASE NUMBER_____________

 HAS DEFENDANT BEEN ARRESTED ON COMPLAINT?                    __ Yes      __ No
   If No, a new warrant is required

 OFFENSE(S):          Count 1: 18 USC § 1951 (Robbery Affecting Commerce)
                      Count 4: 18 USC § 924(c)(1)(A)(ii), Brandishing a Firearm in
                      Furtherance of a Crime of violence

 LOCATION OF          Arapahoe County, CO
 OFFENSES:

 PENALTY:             Count 1: NMT 20 years imprisonment; NMT $250,000 fine, or both;
                      NMT 3 years’ supervised release; $100 special assessment;
                      restitution.
                      Count 4: NLT 7 years imprisonment to run consecutive to any other
                      sentence; NMT $250,000 fine, or both; NMT 5 years supervised
                      release; $100 special assessment.

 AGENT:               William Monahan
                      Task Force Officer, FBI

 AUTHORIZED           Brian Dunn
 BY:                  Assistant U.S. Attorney


ESTIMATED TIME OF TRIAL:

    five days or less; __x_ over five days

THE GOVERNMENT

x    will seek detention in this case based on 18 U.S.C. § 3142(f)(1)

The statutory presumption of detention is applicable to this defendant.
